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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

Hiran Rodriguez,
             Plaintiff,                 Civil Action No. 2:25-cv-00197
                    v.
                                        Section A(2)
Meta Platforms, Inc., Apple Inc., T-
                                        Judge Jay C. Zainey
Mobile USA, Inc., AT&T Enterprises,
LLC, X Corp., a Nevada Corporation, Magistrate Judge Donna Phillips Currault
Kansas City Southern Railroad Co.,
LCMC Healthcare Partners, LLC,
Third District Volunteer Fire
Department, Gray Television, Inc.,
The Associated Press, Jefferson Parish,
Jefferson Parish Sheriff’s Office,
Joseph P. Lopinto, III, Andres Fuentes,
Gloria Pazmino, Haleluya Hadero,
Susanne Rust, Ryan McCafferty, Paul
MacInnes, Jonathan Liew, James
Ochoa, Demicia Inman, Jamie
Spangher, Maya Gebeily, Versha
Sharma, Elon Musk, Mark Elliott
Zuckerberg, and Does 1-10,
             Defendants.

                            NOTICE OF SUBMISSION

      PLEASE TAKE NOTICE that the Motion to Dismiss of Defendant the Kansas

City Southern Railway Company will be submitted for consideration to the

Honorable Jay C. Zainey, District Judge of the United States District Court for the

Eastern District of Louisiana, on April 2, 2025 at 10:30 a.m.




                                                                            4329565.v1
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                                  Respectfully submitted,

                                  BREAZEALE, SACHSE & WILSON,
                                  L.L.P.,

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                               Company




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                         CERTIFICATE OF SERVICE


      I hereby certify that on this 11th day of March, 2025, the foregoing pleading

was electronically filed with the Clerk of Court using the CM/ECF system and

served on the Plaintiff by U.S. Mail.




                                                _/s/ Philip J. Giorlando_________
                                                   Philip J. Giorlando




                                                                           4329565.v1
